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                         UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                Case No.        1:07-cr-00156-LJO
                                             )
      VS.                                    )                DETENTION ORDER
                                             )
VICTOR MURRAY,                               )
                                      )
                   Defendant.         )
_____________________________________ )

A.    Order For Detention
      After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform Act, the Court
      orders the above-named defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

B.    Statement Of Reasons For The Detention
      The Court orders the defendant's detention because it finds:
        X   By a preponderance of the evidence that no condition or combination of conditions will reasonably
            assure the appearance of the defendant as required.
        X   By clear and convincing evidence that no condition or combination of conditions will reasonably
            assure the safety of any other person and the community.

C.    Findings Of Fact
      The Court's findings are based on the evidence which was presented in Court, and that which was contained
      in the Pretrial Services Report, and includes the following:
        X      (1) Nature and circumstances of the offense charged:
                X      (a) The crime: 18 U.S.C. § 1951, 18 U.S.C. § 924(o), 18 U.S.C. § 924(c) - 6 counts,
                                      18 U.S.C. § 924(c) - 24 counts, 18 U.S.C. § 1951 - 30 counts.
                     is a serious crime and carries a maximum penalty of:     735 years-life.
                     (b) The offense is a crime of violence.
                     (c) The offense involves a narcotic drug.
                     (d) The offense involves a large amount of controlled substances, to wit:

             (2) The weight of the evidence against the defendant is high.
       X     (3) The history and characteristics of the defendant, including:
                     (a) General Factors:
                              The defendant appears to have a mental condition which may affect whether the
                              defendant will appear.
                      unk. The defendant has no family ties in the area.
                      unk. The defendant has no steady employment.
                      unk. The defendant has no substantial financial resources.
                              The defendant is not a long time resident of the community.
                      unk. The defendant does not have any significant community ties.
                              Past conduct of the defendant:

                      unk.   The defendant has a history relating to drug abuse.
                             The defendant has a history relating to alcohol abuse.
                      unk.   The defendant has a significant prior criminal record.
                             The defendant has a prior record of failure to appear at court proceedings.
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                      (b) Whether the defendant was on probation, parole, or release by a court:
                      At the time of the current arrest, the defendant was on:
                               Probation
                               Parole
                               Release pending trial, sentence, appeal, or completion of sentence.
                      (c) Other Factors:
                               The defendant is an illegal alien and is subject to deportation.
                               The defendant is a legal alien and will be subject to deportation if convicted.
                               Other:



       X      (4) The nature and seriousness of the danger posed by the defendant's release are as follows:
                      The alleged offenses appear serious in nature.

       X      (5) Rebuttable Presumptions
              In determining that the defendant should be detained, the Court also relied on the following rebuttable
              presumption(s) contained in 18 U.S.C. §3142(e) which the Court finds the defendant has not rebutted:
                      a.      That no condition or combination of conditions will reasonably assure the appearance of
                              the defendant as required and the safety of any other person and the community because
                              the Court finds that the crime involves:
                                       (A) A crime of violence;
                                       (B) An offense for which the maximum penalty is life imprisonment or death;
                                       (C) A controlled substance violation which has a maximum penalty of 10
                                       years or more; or,
                                       (D) A felony after the defendant had been convicted of 2 or more prior
                                       offenses described in (A) through (C) above, and the defendant has a prior
                                       conviction for one of the crimes mentioned in (A) through (C) above which is
                                       less than 5 years old and which was committed while the defendant was on
                                       pretrial release.
                X     b.      That no condition or combination of conditions will reasonably assure the appearance of
                              the defendant as required and the safety of the community because the Court finds that
                              there is probable cause to believe:
                                       (A) That the defendant has committed a controlled substance violation which
                                       has a maximum penalty of 10 years or more.
                                X      (B) That the defendant has committed an offense under 18 U.S.C. §924(c)
                                       (uses or carries a firearm during and in relation to any crime of violence,
                                       including a crime of violence, which provides for an enhanced punishment if
                                       committed by the use of a deadly or dangerous weapon or device).

D.    Additional Directives
      Pursuant to 18 U.S.C. §3142(i)(2)-(4), the Court directs that:
      The defendant be committed to the custody of the Attorney General for confinement in a corrections facility
      separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
      appeal; the defendant be afforded reasonable opportunity for private consultation with counsel; and, that on order
      of a court of the United States, or on request of an attorney for the Government, the person in charge of the
      corrections facility in which the defendant is confined deliver the defendant to a United States Marshal for the
      purpose of an appearance in connection with a court proceeding.

IT IS SO ORDERED.

Dated: June 18, 2007                              /s/ William M. Wunderlich
mmkd34                                       UNITED STATES MAGISTRATE JUDGE
